
The People of the State of New York, Respondent,
againstNicholas Padron, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Larry R.C. Stephen, J.), rendered March 11, 2010, after a jury trial, convicting him of assault in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Larry R.C. Stephen, J.), rendered March 11, 2010, reversed and the case remanded for a new trial. 
Criminal Court failed to meet its core responsibilities under People v O'Rama, 78 NY2d 270, 277 (1991), to read the substantive jury note into the record and allow defense counsel a full opportunity to suggest an appropriate response. As the People concede, this failure constituted a mode of proceedings error that is exempt from the preservation requirements and requires reversal (see People v Kisoon, 8 NY3d 129 [2007]; People v Howell, 106 AD3d 835 [2013], lv denied 21 NY3d 1042 [2013]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT
I concurI concur I concur
Decision Date: December 12, 2016










